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                        EXHIBIT E
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                         IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF UTAH
 GARFIELD COUNTY, UTAH, a Utah political
 subdivision; KANE COUNTY, UTAH, a Utah
 political subdivision; and THE STATE OF UTAH, by
 and through its Governor, SPENCER J. COX, and its
 Attorney General, SEAN D. REYES,
                    Plaintiffs,
 ZEBEDIAH GEORGE DALTON; BLUERIBBON                       SUPPLEMENTAL DECLARATION
 COALITION; KYLE KIMMERLE; and SUZETTE                    OF BRENT JOHANSEN IN
 RANEA MORRIS,
                                                          SUPPORT OF PLAINTIFFS’
                    Consolidated Plaintiffs,
                                                          AMENDED COMPLAINT
           v.
 JOSEPH R. BIDEN, JR., in his official capacity as
 President of the United States; DEBRA A. HAALAND,
 in her official capacity as Secretary of Interior;
 DEPARTMENT OF THE INTERIOR; TRACY STONE-
 MANNING, in her official capacity as Director of the
                                                          Lead Case No. 4:22cv00059 DN-PK
 Bureau of Land Management; BUREAU OF LAND                Member Case No. 4:22cv00060 DN
 MANAGEMENT; THOMAS J. VILSACK, in his official
 capacity as Secretary of Agriculture; DEPARTMENT         District Judge David Nuffer
 OF AGRICULTURE; RANDY MOORE, in his official             Magistrate Judge Paul Kohler
 capacity as Chief of the United States Forest Service;
 and UNITED STATES FOREST SERVICE,
                    Defendants,
 HOPI TRIBE; NAVAJO NATION; PUEBLO OF ZUNI;
 and UTE MOUNTAIN UTE TRIBE,
              Intervenor Defendants.
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                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH


ZEBEDIAH GEORGE DALTON; BLUERIBBON
COALITION; KYLE KIMMERLE; and SUZETTE
RANEA MORRIS,
                Plaintiffs,
        v.
JOSEPH R. BIDEN, JR., in his official capacity as
President of the United States; DEBRA A.            Civil Action No. 4:22-cv-00060-DN
HAALAND, in her official capacity as Secretary of
Interior; DEPARTMENT OF THE INTERIOR;               DECLARATION OF BRENT
TRACY STONE-MANNING, in her official capacity       JOHANSEN
as Director of the Bureau of Land Management;
BUREAU OF LAND MANAGEMENT; THOMAS J.
VILSACK, in his official capacity as Secretary of
Agriculture; DEPARTMENT OF AGRICULTURE;
RANDY MOORE, in his official capacity as Chief of
the United States Forest Service; and UNITED
STATES FOREST SERVICE,
                Defendants.
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I, Brent Johansen, declare as follows:

        1.      My name is Brent Johansen. I am the president of San Juan Public Entry and

Access Rights (SPEAR). I am also an individual member of the BlueRibbon Coalition. This

declaration is based on my personal knowledge. I am 71 years old.

        2.      I have lived in Utah most of my life. My family has lived in Utah since my great,

great grandparents came here from Denmark in 1856. I was raised in Sanpete County where my

father was a school teacher and farmer. My wife and I have lived in Blanding, San Juan County

since 1987, where I started a dental practice. I have since retired. San Juan County is a wonderful

place to live and raise a family. Our four children, their spouses, and sixteen grandchildren come

back often to enjoy the experience of being in San Juan County and explore this great land.

        3.      SPEAR is an organization dedicated to preserving access to public lands for all

people, young and old. Our organization has worked with the public land managers and the county

to build and maintain a network of ATV trails throughout San Juan County for people to ride and

enjoy. We currently have about 200 members of SPEAR. A lot of us are getting older and unable

to hike long distances. Motorized access is the only method we have to get out and enjoy the

features of San Juan County. Some even carry oxygen on their machines in order to still get out

and ride our trails.

        4.      As the president of SPEAR and as a resident of San Juan County, I love this land.

I care deeply about its character and its preservation. People have been living here for a long time.

If we have been doing such a poor job of taking care of the land, why is this area known as the

Bears Ears in such pristine condition? We take care of what we love. If the goal is to keep and

preserve the beauty of Bears Ears for future generations, the designation of it as a national




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monument is, very well, the worst possible thing to happen to it, destroying the quality of the land

itself.

          5.   We are already seeing the effects of the presidential proclamations that formed the

vast Bears Ears National Monument, coupled with other federal regulations. Roads and trails are

being closed, denying access. Favorite camping spots are being closed. Grazing permits are in

jeopardy. Access to Elk Ridge, one of the community’s favorite destinations, seems likely to be

closed or diminished. At the same time, the Monument is causing an influx of tourists who don’t

show the same respect for the land as the residents do, thus gradually degrading the once pristine

state of this area. An excellent example is the Grand Gulch Primitive Area, now a part of the Bears

Ears National Monument. It used to be primitive until it was designated as a Primitive Area. Now

it has been overwhelmed by tourists who leave their refuse behind.

          6.   SPEAR, and other organizations like Blue Ribbon, work diligently at maintaining

and preserving trails so people can responsibly access their favorite areas. The key word is

“responsibly.” I worry that older people will be discriminated against, left behind, and denied

access to the land they love.




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Dated: July 27, 2022




                                        Brent Johansen




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